Jane Martinez
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              IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF ALASKA

Edward Gaylord Byford, Jr,        )
                                  )
         Petitioner,              )
                                  )
  v.                              )
                                  )
Superintendent McCloud, Wildwood, )
          Respondent              ) D.Ct. No. 3:16-cv-000198-RRB
________________________________)

                 STATUS REPORT RE: STATE COURT PROCEEDING

                 As of August 10, 2017, Mr. Byford’s petition for hearing remains

pending in Alaska Supreme Court case number S-16672.

                 Dated this 10th day of August 2017.

                                                              /s/ Jane Martinez (CJA app’t)
                                                              Jane Martinez
                                                              CJA Counsel for Mr. Byford
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Certificate of Service.
I certify that on 8/10/17 this document
was served electronically on Eric Ringsmuth,
Office of Special Prosecutions and Appeals, for respondent.
/s/ Jane Martinez




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